Case 2:10-md-02179-CJB-DPC Document 913-2 Filed 12/21/10 Page 1 of 16
Case 2:10-md-02179-CJB-SS Document 524 Filed 10/13/10 Page 1 of 2

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL BY THE OIL RIG
“DEEPWATER HORIZON” IN THE
GULF OF MEXICO ON APRIL 20, 2010

This Document Relates to: 2:10-cev-02987

MDL No.: 2179
Section “J”
Judge Barbier

Magistrate Judge Shushan

PLAINTIFI’S NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

COMES NOW the Plaintiff, REEL STRIKE, INC., by and through the undersigned

attorneys, and voluntarily dismisses without prejudice case number 2:10-cv-02987.

Respectfully submitted.

KRUPNICK, CAMPBELL, MALONE,
BUSER, SLAMA, HANCOCK,
LIBERMAN & McKEE, P.A.

By: /s/_ Robert J. McKee

Robert J. McKee, Esquire

Florida Bar Number: 972614
rmekee@krupnicklaw.com

12 Southeast Seventh Street, Suite 801
Fort Lauderdale, Florida 33301-3426
954-763-8181 telephone
954-763-8292 facsimile

Attorneys for Plaintiff, REEL STRIKE, INC.

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Case 2:10-md-02179-CJB-SS Document 524 Filed 10/13/10 Page 2 of 2

CERTIFICATE OF SERVICE

1 HEREBY CERTIFY that on October 13, 2010, I electronically filed the foregoing with
the Clerk of court by using the EM/ECF system which will send a notice of electronic filing to
the Interim Liaison Counsel. I further certify that I served by e-mail and by U.S. mail all
attorneys listed on the Panel Service List as provided in Pretrial Order #1 and by U.S, mail to all

attorneys on the manual notice list.

KRUPNICK, CAMPBELL, MALONE,
BUSER, SLAMA, HANCOCK,
LIBERMAN & McKEE, P.A.

By: /s/_ Robert J. McKee

Robert J. McKee, Esquire

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Case 2:10-md-02179-CJB-DPC Document 913-2 Filed 12/21/10 Page 3 of 16

Case 2:10-md-02179-CJB-SS Document 525 Filed 10/13/10 Page 1 of 2

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

IN RE; OIL SPILL BY THE OIL RIG
“DEEPWATER HORIZON” IN THE
GULF OF MEXICO ON APRIL 20, 2010

This Document Relates to: 2:10-cv-02988

PLAINTIFE’S NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

COMES NOW the Plaintiff, KRISTIN LEE, INC., by and through the undersigned

attorneys, and voluntarily dismisses without prejudice case number 2:10-cv-02988.

Respectfully submitted.

MDL No.: 2179
Section “J” |
Judge Barbier

Magistrate Judge Shushan

KRUPNICK, CAMPBELL, MALONE,
BUSER, SLAMA, HANCOCK,
LIBERMAN & McKEE, P.A.

By: /s/_ Robert J. McKee

Robert J. McKee, Esquire

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Attorneys for Plaintiff, KRISTIN LEE, INC.
Case 2:10-md-02179-CJB-DPC Document 913-2 Filed 12/21/10 Page 4 of 16
Case 2:10-md-02179-CJB-SS Document 525 Filed 10/13/10 Page 2 of 2

CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on October 13, 2010, I electronically filed the foregoing with
the Clerk of court by using the EM/ECF system which will send a notice of electronic filing to
the Interim Liaison Counsel. I further certify that I served by e-mail and by U.S. mail all
attorneys listed on the Panel Service List as provided in Pretrial Order #1 and by U.S. mail to all

attorneys on the manual notice list.

KRUPNICK, CAMPBELL, MALONE,
BUSER, SLAMA, HANCOCK,
LIBERMAN & McKEE, P.A.

By: /s/ Robert J, McKee

Robert J. McKee, Esquire

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Case 2:10-md-02179-CJB-DPC Document 913-2 Filed 12/21/10 Page 5 of 16
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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL BY THE OIL RIG MDL No,; 2179
“DEEPWATER HORIZON” IN THE
GULF OF MEXICO ON APRIL 20, 2010 Section “J”
Judge Barbier
This Document Relates to; 2:10-cv-01512 Magistrate Judge Shushan

PLAINTIFE’S NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

COMES NOW the Plaintiff, GRIFFITTS INVESTMENTS LIMITED PARTNERSHIP,
by and through the undersigned attorneys, and voluntarily dismisses without prejudice case
number 2;10-cy-01512,

Respectfully submitted.

KRUPNICK, CAMPBELL, MALONE,
BUSER, SLAMA, HANCOCK,
LIBERMAN & McKEE, P.A.

By: /s/_ Robert J. McKee

Robert J. McKee, Esquire

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954-763-8292 facsimile

Attorneys for Plaintiff, GRIFFITTS
INVESTMENTS LIMITED PARTNERSHIP

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Case 2:10-md-02179-CJB-SS Document 626 Filed 10/13/10 Page 2 of 2

CERTIFICATE OF SERVICE

{ HEREBY CERTIFY that on October 13, 2010, I electronically filed the foregoing with
the Clerk of court by using the EM/ECF system which will send a notice of electronic filing to
the Interim Liaison Counsel. I further certify that I served by e-mail and by U.S. mail all
attorneys listed on the Panel Service List as provided in Pretrial Order #1 and by U.S. mail to all

attorneys on the manual notice list.

KRUPNICK, CAMPBELL, MALONE,
BUSER, SLAMA, HANCOCK,
LIBERMAN & McKEE, P.A.

By: /s/_ Robert J. McKee

Robert J. McKee, Esquire

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Case 2:10-md-02179-CJB-DPC Document 913-2 Filed 12/21/10 Page 7 of 16
Case 2:10-md-02179-CJB-SS Document 657 Filed 11/04/10 Page 1 of 2

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

IN RE DEEPWATER HORIZON MDL NO. 10-2179
SECTION “J”

PERTAINS TO; JUDGE BARBIER

Barisich v. BP, PLC, et al, 10-1324 MAG, JUDGE SHUSHAN

PLAINTIFES’ NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
Pursuant to the Federal Rules of Civil Procedure, Plaintiffs, George Barisich, individually

and on behalfall others similarly situated and the United Commercial Fisherman’s Association, Inc.,
individually and behalf of all others similarly situated, through undersigned counsel, voluntarily
dismiss their case (No. 2010-1324 in this consolidated matter) without prejudice against all
defendants named in their complaint that was filed on, or about, May 3, 2010, None of the
defendants have filed answers, nor motions for summary judgment, in response to Plaintiffs’
complaint.

Respectfully submitted,

/s Val P. Exnicios

Val P. Exnicios, La. Bar. No. 19563

Liska, Exnicios & Nungesser

2216 Magazine Street

New Orleans, LA 70130
(504) 410-9611

Case 2:10-md-02179-CJB-DPC Document 913-2 Filed 12/21/10 Page 8 of 16
Case 2:10-md-02179-CJB-SS Document 657 Filed 11/04/10 Page 2 of 2

Stuart H, Smith, La. Bar No.17805
Michael G. Stag, La. Bar No. 23314
SMITH STAG, L.L.C,

365 Canal St., Suite 2850

New Orleans, LA 70130

(504) 593-9600

ATTORNEYS FOR PLAINTIFFS

CERTIFICATE OF SERVICE

I hereby certify that the above and foregoing Motion to Dismiss has been served on All Counsel
by electronically uploading the same to Lexis Nexis File & Serve in accordance with Pretrial
Order No. 12, and that the foregoing was electronically filed with the Clerk of Court of the
United States District Court for the Eastern District of Louisiana by using the CM/ECF System,
which will send a notice of electronic filing in accordance with the procedures established in

MDL 2179, on this 4" day of November 2010,

/s Val P. Exnicios
Val P. Exnicios

Case 2:10-md-02179-CJB-DPC Document 913-2 Filed 12/21/10 Page 9 of 16
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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

IN RE DEEPWATER HORIZON MDL NO. 2179

SECTION J
PERTAINS TO: JUDGE BARBIER
Barisich vy. BP, PLAC, et al, 10-1316 MAG, JUDGE SHUSHAN

PLAINTIFFS’ NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

Pursuant to the Federal Rules of Civil Procedure, Plaintiffs, George Barisich, individually
and on behalf of the United Commercial Fisherman’s Association, Inc., through undersigned
counsel, voluntarily dismiss their case (No. 2010-1316 in this consolidated matter) without prejudice
against all defendants named in their complaint that was filed on, or about, May 2, 2010, None of
the defendants have filed answers, nor motions for summary judgment, in response to Plaintiffs’
complaint,

Respectfully subinitted,

/s Val P, Exnicios

Val P. Exnicios, La, Bar, No, 19563
Liska, Exnicios & Nungesser

2216 Magazine Street

New Orleans, LA 70130
(504) 410-9611

Stuart H. Smith, La. Bar No.17805
Michael G, Stag, La, Bar No. 23314

Case 2:10-md-02179-CJB-DPC Document 913-2 Filed 12/21/10 Page 10 of 16
Case 2:10-md-02179-CJB-SS Document 658 Filed 11/04/10 Page 2 of 2

SMITH STAG, L.L.C.
365 Canal St., Suite 2850
New Orleans, LA 70130
(504) 593-9600

ATTORNEYS FOR PLAINTIFFS

CERTIFICATE OF SERVICE
I hereby certify that the above and foregoing Motion to Dismiss has been served on All
Counsel by electronically uploading the same to Lexis Nexis File & Serve in accordance with
Pretrial Order No. 12, and that the foregoing was electronically filed with the Clerk of Court of
the United States District Court for the Eastern District of Louisiana by using the CM/ECF
System, which will send a notice of electronic filing in accordance with the procedures
established in MDL 2179, on this 4" day of November 2010,

/s Val P. Exnicios
Val P, Exnicios

Case 2:10-md-02179-CJB-DPC Document 913-2 Filed 12/21/10 Page 11 of 16
Case 2:10-md-02179-CJB-SS Document 659 Filed 11/04/10 Page 1 of 2

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

IN RE DEEPWATER HORIZON

PERTAINS TO:
Robin v. BP, PEC, et al, 10-1295

MDL NO. 2179

SECTION “J”

JUDGE BARBIER
MAG, JUDGE SHUSHAN

PLAINTIFFS’ NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

Pursuant to the Federal Rules of Civil Procedure, Plaintiffs, Charles and Lisa Robin, JH,

through undersigned counsel, voluntarily dismiss their case (No, 2010-1295 in this consolidated

matter) without prejudice against all defendants named in their complaint that was filed on, or

about, April 30, 2010. None of the defendants have filed answers, nor motions for summary

judgment, in response to Plaintiffs’ complaint.

Respectfully submitted,

/s Val P. Exnicios

Val P. Exnicios, La. Bar, No. 19563
Liska, Exnicios & Nungesser

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Stuart H. Smith, La. Bar No.17805
Michael G. Stag, La. Bar No. 23314
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Case 2:10-md-02179-CJB-SS Document 659 Filed 11/04/10 Page 2 of 2

(504) 593-9600

ATTORNEYS FOR PLAINTIFFS

CERTIFICATE OF SERVICE
I hereby certify that the above and foregoing Motion to Dismiss has been served on All
Counsel by electronically uploading the same to Lexis Nexis File & Serve in accordance with
Pretrial Order No. 12, and that the foregoing was electronically filed with the Clerk of Court of
the United States District Court for the Eastern District of Louisiana by using the CM/ECF
System, which will send a notice of electronic filing in accordance with the procedures
established in MDI, 2179, on this 4" day of November 2010.

/s Val P. Exnicios
Val P. Exnicios

Case 2:10-md-02179-CJB-DPC Document 913-2 Filed 12/21/10 Page 13 of 16
Case 2:10-md-02179-CJB-SS Document 744 Filed 11/16/10 Page 1 of 2

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

IN RE DEEPWATER HORIZON CIVIL ACTION
NO. 10-2179
PERTAINS TO: SECTION J-1

Vath, etal. v. BP, PLC, ef al, 10-1273

PLAINTIFE’S NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

Pursuant to the Federal Rules of Civil Procedure, Plaintiff, Ray Vath, through
undersigned counsel, voluntarily dismisses his case (part of no. 2010-1316 in this consolidated
matter) without prejudice against all defendants named in his complaint that was filed on, or
about, April 30, 2010. This notice of dismissal does NOT apply to the claims of the Louisiana
Environmental Action Network, Inc., which remain pending and are expressly reserved in the
multi-district litigation. None of the defendants have filed answers, nor motions for summary
judgment, in response to Plaintiffs’ complaint.

Respectfully submitted,

és Michael G. Stag

Stuart H. Smith, La. Bar No.17805
Michael G, Stag, La. Bar No. 23314
SMITH STAG, L.L.C,

365 Canal St., Suite 2850

New Orleans, LA 70130
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ATTORNEYS FOR PLAINTIFFS

Case 2:10-md-02179-CJB-DPC Document 913-2 Filed 12/21/10 Page 14 of 16
Case 2:10-md-02179-CJB-SS Document 744 Filed 11/16/10 Page 2 of 2

CERTIFICATE OF SERVICE
I hereby certify that the above and foregoing Notice of Voluntary Dismissal without
Prejudice has been served on All Counsel by electronically uploading the same to Lexis Nexis
File & Serve in accordance with Pretrial Order No. 12, and that the foregoing was electronically
filed with the Clerk of Court of the United States District Court for the Bastern District of
Louisiana by using the CM/ECF System, which will send a notice of electronic filing in
accordance with the procedures established in MDL 2179, on this _ day of November, 2010.

/s Mike G. Stag
Mike G, Stag

Case 2:10-md-02179-CJB-DPC Document 913-2 Filed 12/21/10 Page 15 of 16
Case 2:10-md-02179-CJB-SS Document 859 _ Filed 12/08/10 Page 1 of 2

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

IN RE DEEPWATER HORIZON CIVEL ACTION
NO. 10-2179
PERTAINS TO; SECTION J-1

Vath, etal. v. BP, PLC, et al, 10-1273

PLAINTIFl?S NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

Pursuant to the Federal Rules of Civil Procedure, Plaintiff, Louisiana Environmental
Action Network, Inc, (“LEAN”), through undersigned counsel, voluntarily dismisses its case
{part of no. 2010-1273 in this consolidated matter) without prejudice against all defendants
named in his complaint that was filed on, or about, April 30, 2010. None of the defendants have

filed answers, nor motions for summary judgment, in response to Plaintiffs’ complaint.
Respectfully submitted,

fs Michael G, Stag

Stuart H, Smith, La. Bar No.17805
Michael G, Stag, La. Bar No. 23314
SMITH STAG, L.L.C, .
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New Orleans, LA 70130

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ATTORNEYS FOR PLAINTIFFS

Case 2:10-md-02179-CJB-DPC Document 913-2 Filed 12/21/10 Page 16 of 16
Case 2:10-md-02179-CJB-SS Document 859 Filed 12/08/10 Page 2 of 2

CERTIFICATE OF SERVICE
[hereby certify that the above and foregoing Notice of Voluntary Dismissal without
Prejudice has been served on All Counsel by electronically uploading the same to Lexis Nexis
File & Serve in accordance with Pretrial Order No. 12, and that the foregoing was electronically
filed with the Clerk of Court of the United States District Court for the Eastern District of
Louisiana by using the CM/RCF System, which will send a notice of electronic filing in
accordance with the procedures established in MDL 2179, on this 7th day of December, 2010.

fs Mike G, Stag
Mike G, Stag

